            Case 1:18-cv-02095-SDA Document 51 Filed 12/14/18 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 THE NEW YORK TIMES COMPANY and
 KENNETH P. VOGEL,

                Plaintiffs,
                                                     No. 18 Civ. 2095 (LAK) (SDA)
        v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

                Defendant.



                              DECLARATION OF JOHN LANGFORD

       1.       I am a supervising attorney at the Media Freedom and Information Access Clinic

(“MFIA Clinic”), which represents Plaintiffs Kenneth P. Vogel and the New York Times

Company in this action concerning Freedom of Information Act (“FOIA”) requests that seek

records from the Department of Justice (“DOJ”) containing correspondence related to the

Foreign Agents Registration Act (“FARA”).

       2.       I am an attorney licensed to practice law in New York.

       3.       I submit this declaration in opposition to Defendant’s motion for partial summary

judgment and in support of Plaintiffs’ opposition and cross-motion for partial summary

judgment.

       4.       Attached hereto as Exhibit A is a true and correct copy of the following publicly

available news article: Alexander Burns & Maggie Haberman, Donald Trump Hires Paul

Manafort to Lead Delegate Effort, New York Times (Mar. 28, 2016, 6:19 PM),




                                                 1
            Case 1:18-cv-02095-SDA Document 51 Filed 12/14/18 Page 2 of 5




https://www.nytimes.com/politics/first-draft/2016/03/28/donald-trump-hires-paul-manafort-to-

lead-delegate-effort/.

       5.       Attached hereto as Exhibit B is a true and correct copy of the following publicly

available news article: Maggie Haberman & Ashley Parker, Trump Aide Paul Manafort

Promoted to Campaign Chairman and Chief Strategist, New York Times (May 19, 2016),

https://www.nytimes.com/2016/05/20/us/politics/paul-manafort-trump.html.

       6.       Attached hereto as Exhibit C is a true and correct copy of the following publicly

available news article: Jeremy Silk Smith, Who's Going to Get Fired Over Melania Trump

Speech?, Roll Call (Jul. 19, 2016, 10:14 AM), https://www.rollcall.com/news/politics/rick-gates-

melania-trump-speech-plagiarism.

       7.       Attached hereto as Exhibit D is a true and correct copy of the following publicly

available news article: Andrew Kramer, Mike McIntire & Barry Meier, Secret Ledger in Ukraine

Lists Cash for Donald Trump’s Campaign Chief, New York Times (Aug. 14, 2016),

https://www.nytimes.com/2016/08/15/us/politics/paul-manafort-ukraine-donald-trump.html.

       8.       Attached hereto as Exhibit E is a true and correct copy of the following publicly

available news article: Maggie Haberman & Jonathan Martin, Paul Manafort Quits Donald

Trump’s Campaign After a Tumultuous Run, New York Times (Aug. 19, 2016),

https://www.nytimes.com/2016/08/20/us/politics/paul-manafort-resigns-donald-trump.html.

       9.       Attached hereto as Exhibit F is a true and correct copy of the following publicly

available FARA registration statement for DMP International, LLC:

https://efile.fara.gov/docs/6440-Registration-Statement-20170627-1.pdf




                                                 2
         Case 1:18-cv-02095-SDA Document 51 Filed 12/14/18 Page 3 of 5




       10.    Attached hereto as Exhibit G is a true and correct copy of the following publicly

available exhibit submitted in conjunction with Michael Flynn’s FARA registration form:

https://efile.fara.gov/docs/6406-Exhibit-C-20170307-1.pdf.

       11.    Attached hereto as Exhibit H is a true and correct copy of the following publicly

available exhibit submitted in conjunction with Michael Flynn’s FARA registration form:

https://efile.fara.gov/docs/6406-Exhibit-AB-20170307-2.pdf.

       12.    Attached hereto as Exhibit I is a true and correct copy of the following publicly

available FARA registration statement for Flynn Intel Group, Inc.:

https://efile.fara.gov/docs/6406-Registration-Statement-20170307-1.pdf.

       13.    Attached hereto as Exhibit J is a true and correct copy of the following publicly

available news article: Matthew Rosenberg & Maggie Haberman, Michael Flynn, Anti-Islamist

Ex-General, Offered Security Post, Trump Aide Says, New York Times (Nov. 17, 2016),

https://www.nytimes.com/2016/11/18/us/politics/michael-flynn-national-security-adviser-

donald-trump.html.

       14.    Attached hereto as Exhibit K is a true and correct copy of the following publicly

available news article: Carol E. Lee, Devlin Barrett & Shane Harris, U.S. Eyes Michael Flynn’s

Links to Russia, Wall Street Journal (Jan. 22, 2017, 8:29 PM), https://www.wsj.com/articles/u-s-

eyes-michael-flynns-links-to-russia-1485134942.

       15.    Attached hereto as Exhibit L is a true and correct copy of the following publicly

available news article: Maggie Haberman, Matthew Rosenberg, Matt Apuzzo & Glenn Thrush,

Michael Flynn Resigns as National Security Adviser, New York Times (Feb. 13, 2017),

https://www.nytimes.com/2017/02/13/us/politics/donald-trump-national-security-adviser-

michael-flynn.html.



                                               3
            Case 1:18-cv-02095-SDA Document 51 Filed 12/14/18 Page 4 of 5



       16.      Attached hereto as Exhibit M is a true and correct copy of the following publicly

available supplemental statement submitted in conjunction with Michael Flynn’s FARA

registration form: https://efile.fara.gov/docs/6406-Supplemental-Statement-20170307-1.pdf.

       17.      Attached hereto as Exhibit N is a true and correct copy of the following publicly

available testimony of Rinat Akhmetshin before the Senate Judiciary Committee on November

14, 2017:

https://www.judiciary.senate.gov/imo/media/doc/Akhmetshin%20Transcript_redacted.pdf.

       18.      Attached hereto as Exhibit O is a true and correct copy of the following publicly

available news article: Jo Becker, Matt Apuzzo & Adam Goldman, Trump Team Met With

Lawyer Linked to Kremlin During Campaign, New York Times (Jul. 8, 2017),

https://www.nytimes.com/2017/07/08/us/politics/trump-russia-kushner-manafort.html.

       19.      Attached hereto as Exhibit P is a true and correct copy of the following publicly

available tweet published by Donald Trump, Jr.:

https://twitter.com/donaldjtrumpjr/status/884789418455953413?lang=en

       20.      Attached hereto as Exhibit Q is a true and correct copy of the following publicly

available complaint filed by Hermitage Capital Management with the United States Department

of Justice FARA Registration Unit:

https://www.grassley.senate.gov/sites/default/files/judiciary/upload/Russia%2C%2003-31-

17%2C%20Magnitsky%20Act%20-%202016-%2007-

15%20HCM%20Complaint%20to%20FARA%20%28003%29_Redacted.pdf.

       21.      Attached hereto as Exhibit R is a true and correct copy of a draft of plaintiffs’

September 6, 2017 administrative appeal of the DOJ’s denial of their FOIA request 17-275.




                                                  4
          Case 1:18-cv-02095-SDA Document 51 Filed 12/14/18 Page 5 of 5



       22.     Attached hereto as Exhibit S is a true and correct copy of a draft of plaintiffs’

September 6, 2017 administrative appeal of the DOJ’s denial of their FOIA request 17-276.

       23.     Attached hereto as Exhibit T is a true and correct copy of the DOJ’s grant of

plaintiffs’ September 6, 2017 administrative appeal.

       24.     Attached hereto as Exhibit U is a true and correct copy of the DOJ Office of the

Inspector General’s acknowledgement of plaintiffs’ fourth FOIA request.

       25.     Attached hereto as Exhibit V is a true and correct copy of the following publicly

available news article: Andrew Prokop, All of Robert Mueller’s indictments and plea deals in the

Russia investigation so far, Vox (last updated Nov. 29, 2018), https://www.vox.com/policy-and-

politics/2018/2/20/17031772/mueller-indictments-grand-jury.

       26.     Attached hereto as Exhibit W is a true and correct copy of the following publicly

available news article: Michael Isikoff, Mueller preparing endgame for Russia investigation,

Yahoo News (Dec. 4, 2018), https://www.yahoo.com/news/mueller-preparing-end-game-russia-

investigation-225720798.html.

                                             *****

       Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the foregoing is

true and correct.

Executed on December 14, 2018, in Los Angeles, California.



                                                             John Langford




                                                 5
